                 Case 2:18-cv-01736-JCC Document 32 Filed 11/05/20 Page 1 of 1




                                                     THE HONORABLE JOHN C. COUGHENOUR
 1

 2

 3

 4

 5

 6
                               UNITED STATES DISTRICT COURT
 7
                              WESTERN DISTRICT OF WASHINGTON
 8                                      AT SEATTLE

 9    ABDIWALI MUSSE,                                    CASE NO. C18-1736-JCC
10                          Plaintiff,                   MINUTE ORDER
11           v.

12    WILLIAM HAYES, et al.,

13                          Defendants.
14

15          The following Minute Order is made by direction of the Court, the Honorable John C.
16   Coughenour, United States District Judge:
17          This matter comes before the Court on the parties’ stipulated motion to extend the
18   discovery deadline (Dkt. No. 31). Having considered the motion and the relevant record and
19   finding good cause, the Court GRANTS the motion. The discovery deadline is CONTINUED
20   until November 30, 2020 and the dispositive motions deadline is CONTINUED until December
21   30, 2020.
22          DATED this 5th day of November 2020.
23                                                        William M. McCool
                                                          Clerk of Court
24

25                                                        s/Paula McNabb
                                                          Deputy Clerk
26


     MINUTE ORDER
     C18-1736-JCC
     PAGE - 1
